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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                             Crim. No. 17-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,
                                             REDACTED
                Defendant.




                    GOVERNMENT’S RESPONSE TO MANAFORT’S
                SUPPLEMENTAL MEMORANDUM TO HIS MOTION FOR
                  RECONSIDERATION OF CONDITIONS OF RELEASE

       The United States of America, by and through Special Counsel Robert S. Mueller, III,

hereby files this response to Manafort’s supplemental memorandum to his motion for

reconsideration of conditions of release. The government respectfully submits that Manafort’s

proposed new bail package is insufficient to assure reasonably his appearance as required by law.

       Whereas Manafort previously proposed to secure a $10 million bond with real property

and two sureties, he now proposes no sureties and to change the properties put up as security. In

particular, Manafort now proposes to withdraw the use of his property in Bridgehampton, New

York—the property with the highest market value and greatest amount of equity. He also no longer

offers as security his Florida residence—a property that is not alleged to be subject to forfeiture

and that he previously estimated to have equity of                . See ECF No. 66. Instead, he

offers three properties that are deficient in various respects.

       As a result of these changes, the bail package that Manafort proposes is far less than the

$10 million that he alleges in his supplemental memorandum, and the difference is not made up

by any surety. We address each property in Manafort’s new proposal below:
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       Arlington property.      The Arlington property is owned by one of Manafort’s

daughters. However, while it is owned free and clear, it is subject to forfeiture, as it was entirely

purchased by Manafort from tainted funds from a Cypriot account. Although we have not taken

the position that the property cannot serve as bail to any extent, it should not be given full credit

as if it were not subject to forfeiture at all. See S. Rep. No. 225, 98th Cong., 1st Sess., at 23–24

(Aug. 4, 1983) (explaining that the deterrence rationale of financial conditions “no longer holds

true” “[w]hen the proceeds of crime are used to post bond,” and that “[t]he source of property used

to fulfill a condition of release is thus an important consideration in a judicial officer’s

determination of whether such a condition will assure the appearance of the defendant”). No

explanation is offered as to why Manafort seeks to substitute this property for his Florida residence,

which is not subject to forfeiture. In any event, the Court need not reach the issue of the discounted

value, since even if it is fully counted, the bail package does not come to $10 million.

       Fairfax property. The Fairfax property is claimed by Manafort to have no mortgage. In

fact, it was posted to secure a mortgage of over $9 million from The Federal Savings Bank, which

was secured by both the Fairfax property and the Bridgehampton property. The bank can thus

proceed against either or both properties in the event of foreclosure. It is misleading to claim the

Fairfax property has no mortgage when, in fact, it has been posted to secure a mortgage that

substantially exceeds the value of the property. Moreover, Manafort himself has questioned his

ability to maintain the payments on all his mortgages; thus, the risk of foreclosure by the bank on

this property is not fanciful, which would seriously affect its market value.

                      , New York property. The government does not take issue with the appraisal

for this property and its residual equity value of approximately                .




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        Trump Tower apartment, New York. Manafort claims a residual equity value of

         in this property. However, the government understands from the bank holding the

mortgage, UBS,                                                                           . Thus, here

too there is a risk of bank foreclosure, which would undermine the property’s market value. In

any event, even according it full value, the bail package is substantially less than $10 million, even

if one accords the Arlington property no discounted value to account for the fact that it is subject

to forfeiture                                                        = $7.35 million).

       Significantly, Manafort does not propose any sureties to make up the difference in the

effective equity value of the property he proposes as security and the $10 million bond. The fact

that Manafort has not been able to find any responsible surety to cosign a bond for this package

suggests that neither those closest to him, nor anyone else, is willing to assume the risk of being a

surety for him.

       Further, the proposed package is deficient in the government’s view, in light of additional

criminal conduct that we have learned since the Court’s initial bail determination. That criminal

conduct includes a series of bank frauds and bank fraud conspiracies, including criminal conduct

relating to the mortgage on the Fairfax property, which Manafort seeks to pledge. The government

has secured substantial evidence that Manafort secured this mortgage from The Federal Savings

Bank through a series of false and fraudulent representations to The Federal Savings Bank. For

example, Manafort provided the bank with doctored profit and loss statements for DMP

International LLC for both 2015 and 2016, overstating its income by millions of dollars. At the

next bail hearing, we can proffer to the Court additional evidence related to this and the other bank

frauds and conspiracies, which the Court may find relevant to the bail risk posed by Manafort as




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well as the risk that the banks may foreclose on the real estate being proposed by Manafort to

secure his release.




                                                  Respectfully submitted,

                                                  ROBERT S. MUELLER III
                                                  Special Counsel

Dated: February 13, 2018                   By:    __/s/_Andrew Weissmann__________
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